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1                              UNITED STATES DISTRICT COURT
2                                     DISTRICT OF NEVADA
3
     ERIC R. CHILDERS,                      )
4                                           )
                      Plaintiff,            )                Case No.: 2:20-cv-00034-RFB-DJA
5
          vs.                               )
6                                           )                OMNIBUS TRANSFER ORDER
     PORTOFOLIO RECOVERY ASSOCIATES, )
7    LLC,                                   )
                                            )
8
                      Defendant.            )
9    ______________________________________ )
     SUNNY COCKERLINE,                      )
10                                          )
                      Plaintiff,            )                Case No.: 2:20-cv-00035-GMN-NJK
11        vs.                               )
12
                                            )
     PORTOFOLIO RECOVERY ASSOCIATES, )
13   LLC,                                   )
                                            )
14                    Defendant.            )
                                            )
15
     JESSICA HARRIS-CHALMERS,               )
16                                          )
                      Plaintiff,            )                Case No.: 2:20-cv-00036-APG-DJA
17        vs.                               )
                                            )
18
     PORTOFOLIO RECOVERY ASSOCIATES, )
19   LLC,                                   )
                                            )
20                     Defendant.           )
                                            )
21

22         Plaintiffs Eric R. Childers, Jessica Harris-Chalmers, and Sunny Cockerline (collectively,

23   “Plaintiffs”) and Defendant Portfolio Recovery Associates, LLC (“PRA”) stipulated to

24   consolidate the following cases: Eric R. Childers v. Portfolio Recovery Associates, LLC, case

25   no. 2:20-cv-00034-RFB-DJA (“Childers”); Sunny Cockerline v. Portfolio Recovery Associates,


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1    LLC, case no. 2:20-cv-00035-GMN-NJK (“Cockerline”); and Jessica Harris-Chalmers v.
2    Portfolio Recovery Associates, LLC, case no. 2:20-cv-00036-APG-DJA (“Harris-Chalmers”).
3           Having reviewed these cases, the assigned Judges have concluded that judicial economy
4    will be served by consolidating and transferring these cases to a single District Court Judge and
5    Magistrate Judge. Accordingly, the undersigned Judges—exercising their discretion under
6    local rule 42-1 and the Court’s inherent power to control the management of the docket in order
7    to foster judicial economy—HEREBY ORDER each of these cases to be CONSOLIDATED
8    and TRANSFERRED to District Judge Richard F. Boulware, II, who was assigned the earliest
9    open case, case no. 2:20-cv-00034-RFB-DJA, and Magistrate Judge Daniel J. Albregts for all
10   further proceedings.
11                      12 day of March, 2020.
            DATED this _____
12

13

14                                                ___________________________________
                                                  Gloria M. Navarro, District Judge
15
                                                  UNITED STATES DISTRICT COURT
16

17

18
                                                  ___________________________________
19
                                                  Richard F. Boulware, II, District Judge
20
                                                  UNITED STATES DISTRICT COURT

21

22

23                                                ___________________________________
                                                  Andrew P. Gordon, District Judge
24
                                                  UNITED STATES DISTRICT COURT
25



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